          Case 3:23-cv-00903-MPS   Document
                           UNITED STATES    37 Filed
                                         DISTRICT    04/26/24
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                               DISTRICT OF CONNECTICUT




145 SISSON AVENUE, LLC
                   Plaintiff
      vs.

ARON PURETZ                                                   CASE NO. 3:23CV903 (MPS)
        Defendant


                                        DEFAULT JUDGMENT

       The defendant having failed to appear, plead, or otherwise defend in this action and a default

under F.R.C.P. 55(a) having been entered on September 1, 2023, and

       The plaintiff having filed on November 16, 2023 a third motion for default judgment pursuant

to the provisions of Rule 55(b)(1) of the F.R.C.P., and after an Evidentiary hearing held on April 24,

2024, the court having granted the motion on April 25, 2024 in the amount of $2,152,787,36; it is

hereby

       ORDERED, ADJUDGED and DECREED that the judgment be and is hereby entered in favor

of the plaintiff in the amount $2,152,787.36.

              Dated at Hartford, Connecticut, this 26th day of April 2024.

                                                                                   , Clerk


                                                        By /s/ Devorah Johnson
                                                           Devorah Johnson
                                                            Deputy Clerk
EOD 4/26/24
